
600 S.E.2d 855 (2004)
STATE of North Carolina
v.
Mack ODEN.
No. 318P04.
Supreme Court of North Carolina.
July 2, 2004.
Mack Oden, Pro Se.
Daniel P. O'Brien, Assistant Attorney General, Mitchell D. Norton, District Attorney, for State.

ORDER
Upon consideration of the petition filed by Defendant on the 25th day of June 2004 in this matter for a writ of mandamus, the following order was entered and is hereby certified to the Superior Court, Beaufort County:
"Denied by order of the Court in Conference this the 2nd day of July 2004."
Upon consideration of the Notice of Appeal in the Matter of Motion for Post Conviction Discovery under Brady from the North Carolina Court of Appeals, filed by Defendant on the 25th day of June 2004 in this matter pursuant to G.S. 7A-30 (substantial constitutional question), the following order was entered and is hereby certified to the North Carolina Court of Appeals: the notice of appeal is
"Denied by order of the Court in conference, this the 2nd day of July 2004."
